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and East Orange Board Of Education

                        IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  NEW JERSEY SCHOOLS INSURANCE
  GROUP (“NJSIG”) AND EAST ORANGE                  Case No. 2:21-cv-15132-KM-CLW
  BOARD OF EDUCATION (“EOBOE”),

                     Plaintiffs,                          NOTICE OF APPEARANCE
           v.

  GREAT AMERICAN INSURANCE
  COMPANY (“GAIC”) ,

                     Defendant.



TO THE CLERK OF THE COURT AND ALL COUNSEL OF RECORD:
PLEASE TAKE NOTICE that Howard Pashman, Esq., of Pashman Stein Walder Hayden,
P.C., hereby appears as co-counsel for Plaintiffs New Jersey Schools Insurance Group
and East Orange Board Of Education. The undersigned requests all electronic notifications in
this matter be sent to him.
                                                    Pashman Stein Walder Hayden, P.C.
                                                    Attorneys for Plaintiffs
                                                    New Jersey Schools Insurance Group
                                                    and East Orange Board Of Education



                                                   /s/ Howard Pashman
                                                   Howard Pashman
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Dated: September 17, 2021
